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 8                           UNITED STATES DISTRICT COURT

 9                          CENTRAL DISTRICT OF CALIFORNIA

10

11   JEFFERY WERNER, etc., et al.,      )        NO. CV 17-790-E
                                        )
12                  Plaintiffs,         )
                                        )
13             v.                       )        INITIAL ORDER RE CASE MANAGEMENT
                                        )
14   TALLTANIC PICTURES LLC, etc.,      )
     et al.,                            )
15                                      )
                    Defendants.         )
16   ___________________________________)

17

18         This action has been assigned to Magistrate Judge

19   Charles F. Eick.     UNLESS OTHERWISE ORDERED BY THE COURT, THE FOLLOWING

20   REQUIREMENTS SHALL APPLY:

21

22   1.    Service of Complaint

23

24         Plaintiff(s) shall serve the Complaint promptly in accordance

25   with Fed. R. Civ. P. 4.      Immediately following service of the

26   Complaint, Plaintiff(s) shall file proofs of service in accordance

27   with Fed. R. Civ. P. 4(1) and Local Rule 5-3.         Service must be

28   completed within the time specified by Fed. R. Civ. P. 4(m) unless the
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 1   Court otherwise orders.      Any Defendant not timely served may be

 2   dismissed from the action without prejudice, including any “Doe” or

 3   fictitious Defendants.

 4

 5   2.    Presence of Responsible Counsel

 6

 7         Counsel thoroughly familiar with the case, who has full authority

 8   to enter into stipulations or other agreements, shall attend any

 9   proceeding before this Court.

10

11   3.    Discovery

12

13         Counsel must comply with the requirements of the initial

14   disclosure requirements of Fed. R. Civ. P. 26(a) and the early meeting

15   and reporting requirements of Fed. R. Civ. P. 26(f) and Local Rule

16   26-1.      Counsel must comply with Local Rule 37 in connection with any

17   discovery motions.

18

19   4.    Non-Discovery Motions

20

21         a.     Motions shall be filed in accordance with Local Rules 7 and

22   11 and General Order 08-02 (e-filing procedures).          The provisions of

23   Local Rule 6 governing the service of a notice of motion by personal

24   service also shall govern a notice of motion served electronically.

25   Opposition or reply papers due on a holiday or weekend day must be

26   filed the court day immediately preceding the holiday or weekend day,

27   and must be hand-delivered or faxed to opposing counsel on that day

28   unless served electronically in conformity with Local Rule 5-3.3.              No

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 1   supplemental briefs shall be filed without prior leave of court.               The

 2   Court expects counsel to comply with the “meet and confer”

 3   requirements of Local Rule 7-3.

 4

 5         b.   The Court customarily hears motions on Fridays at 9:30 a.m.

 6   If a motion is to be noticed for hearing on a Friday at 9:30 a.m., it

 7   is not necessary to clear the motion date with the Court’s deputy

 8   clerk1 prior to filing the motion.

 9

10         c.   Unless otherwise ordered, no memorandum of points and

11   authorities filed in support of or in opposition to any motion shall

12   exceed 25 pages in length.      The format of all moving and opposing

13   papers should comply with Local Rule 11.

14

15         d.   All evidence offered in support of or in opposition to a

16   motion must be authenticated properly.        See Orr v. Bank of America, NT

17   & SA, 285 F.3d 764 (9th Cir. 2002).         Declarations must comply with

18   28 U.S.C. section 1746.      Citations to excerpts from deposition

19   transcripts, declarations and affidavits must include citations to the

20   specific page and line numbers in depositions and the specific

21   paragraph numbers in affidavits and declarations.

22

23         e.   The party filing the motion shall submit a Proposed Order

24   setting forth the relief or action sought.         Proposed orders should be

25   emailed to chambers in conformity with General Order 08-02, Section

26   VI.

27
           1
                The Court’s deputy clerk is Stacey Pierson ((213) 894-
28   5234).

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 1         f.     In the event that the moving party intends to withdraw the

 2   motion or the non-moving party intends not to oppose the motion, or in

 3   the event that a party intends to seek a continuance of the hearing

 4   date, that party must notify the other party and the Court’s deputy

 5   clerk promptly, preferably by the Tuesday preceding the hearing date.

 6

 7         g.     A motion to amend a pleading shall comply with Local Rule

 8   15-1.      Under Fed. R. Civ. P. 15(a), a plaintiff has the right to amend

 9   a complaint “once as a matter of course at any time before a

10   responsive pleading is filed.”       Even after a responsive pleading is

11   filed, leave to amend will be “freely given when justice so requires.”

12   Fed. R. Civ. P. 15(a).      Before filing a motion to dismiss, the moving

13   party should consider the utility of such a motion, given the

14   liberality with which leave to amend generally is given.

15

16         h.     Motions for reconsideration are disfavored.        The Court

17   ordinarily requires strict compliance with Local Rule 7-18.

18

19   5.    Ex Parte Applications

20

21         Ex parte applications should generally be reserved for

22   extraordinary relief.     See Mission Power Engineering Co. v.

23   Continental Cas. Co., 883 F. Supp. 488 (C.D. Cal. 1995).           The Court

24   may impose sanctions for misuse of ex parte applications.           See In re

25   Intermagnetics America, Inc., 101 B.R. 191 (Bankr. C.D. Cal. 1989).

26   The Court usually will not consider ex parte applications that fail to

27   comply with Local Rule 7-19.

28   ///

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 1         The moving party shall serve the ex parte application and all

 2   supporting papers on the opposing party by fax, hand delivery or

 3   electronic service in conformity with Local Rule 5-3.3 if appropriate,

 4   and shall notify the opposing party that opposition papers usually

 5   must be filed no later than 24 hours following such service.            The

 6   Court may prescribe a different deadline for the filing of opposition

 7   papers under certain circumstances.         If counsel for the non-moving

 8   party does not intend to oppose the application, counsel must so

 9   advise the Court’s deputy clerk by telephone.         Conformed “mandatory

10   chambers copies” of all documents filed in support of or in opposition

11   to ex parte applications must be delivered to the drop box in the hall

12   outside Judge Eick’s Chambers, Room 342 of the Spring Street

13   Courthouse as soon as possible after filing, but in no event later

14   than noon of the court day following the e-filing of the document.

15

16         The Court usually rules on ex parte applications without oral

17   argument.    The Court’s deputy clerk will notify counsel if the Court

18   decides to hear oral argument.

19

20   6.    Lodged Documents (if not electronically filed)

21

22         Lodged documents shall be identified on the first page of each

23   document by the case name, case number, and lodgment number.            Each

24   lodged document shall be bound securely.         The Court ordinarily will

25   not accept lodged documents consisting of loose pages.

26   ///

27   ///

28   ///

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 1   7.    Applications or Stipulations for Extensions of Time or

 2         Continuances

 3

 4         With few exceptions, a stipulation extending the time to file

 5   documents or to continue dates is not effective unless and until the

 6   Court approves the stipulation based on a showing of good cause.               Both

 7   applications and stipulations must be filed in advance of the date as

 8   to which an extension or continuance is sought, and must set forth:

 9   (1) the existing date as to which an extension or continuance is

10   sought, the discovery cut-off date, the motion hearing cut-off date,

11   the pretrial conference date and the trial date, if any; (2) the

12   existence of any prior requests for extensions or continuances, and

13   the Court’s ruling on each such prior request; and (3) a description

14   of the diligence of the party seeking the extension or continuance and

15   any prejudice that may result if the application is denied.

16

17   8.    TROs and Other Emergency Applications

18

19         Parties seeking a TRO or other emergency relief must comply with

20   Fed. R. Civ. P. 65 and Local Rule 65-1.        The Court generally will not

21   rule on any such application for at least 24 hours after service upon

22   the opposing party, to permit the opposing party time to file

23   opposition.    The parties shall deliver conformed “mandatory chambers

24   copies” of all papers relating to TROs or other emergency relief to

25   the drop box in the hall outside Judge Eick’s Chambers, Room 342,

26   Spring Street Courthouse as soon as possible after filing, but in no

27   event later than noon of the court day following the e-filing of the

28   document.

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 1   9.    Removed Cases

 2

 3         Any Defendant who has not yet responded at the time the Notice of

 4   Removal is filed must file that Defendant’s response to the Complaint

 5   in accordance with the Federal Rules of Civil Procedure and the Local

 6   Rules of this Court.     Any pending motions must be re-noticed in

 7   accordance with Local Rule 6-1.

 8

 9   10.   Communication with Chambers

10

11         Counsel shall not attempt to contact the Judge, the Judge’s law

12   clerk, or the Judge’s secretary.       Counsel may contact the Judge’s

13   deputy clerk with appropriate inquiries.         To facilitate communication

14   with the Judge’s deputy clerk, counsel should list their fax numbers,

15   e-mail addresses and telephone numbers on all papers filed with the

16   Court.

17

18   11.   Notice of This Order

19

20         Counsel for Plaintiff shall serve this Order immediately on all

21   parties, including any new parties to the action, except that, if this

22   case was removed to this Court from state court, counsel for the

23   removing party shall serve this Order on all other parties.

24   ///

25   ///

26   ///

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 1   12.   Internet Site

 2

 3         The Court encourages counsel to review the Court’s website for

 4   additional information, at www.cacd.uscourts.gov.

 5

 6         IT IS SO ORDERED.

 7

 8              DATED:     February 1, 2017.

 9

10                                                  /s/
                                                CHARLES F. EICK
11                                      UNITED STATES MAGISTRATE JUDGE

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